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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      DECLARATION OF VANESSA
PALO ALTO, et al.,                    GUTIERREZ (NWIRP) IN SUPPORT OF
              Plaintiffs,             PLAINTIFFS’ MOTION FOR A
                                      TEMPORARY RESTRAINING ORDER
     v.                               AND PRELIMINARY INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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                DECLARATION OF VANESSA GUTIERREZ
     DEPUTY DIRECTOR FOR NORTHWEST IMMIGRANT RIGHTS PROJECT


I, Vanessa Gutierrez, make the following statements on behalf of Northwest Immigrant Rights
Project. I certify under penalty of perjury that the following statement is true and correct pursuant
to 28 U.S.C. § 1746.
   1. My name is Vanessa Gutierrez, and I am the Deputy Director at Northwest Immigrant
      Rights Project (“NWIRP”) who oversees NWIRP’s Unaccompanied Children Program
      (“UCP”). NWIRP provides legal services to unaccompanied immigrant children and youth
      who have been released from Office of Refugee Resettlement (“ORR”) custody to sponsors
      throughout Washington State.
   2. NWIRP is a not-for-profit organization in Washington State with a mission to promote
      justice by defending and advancing the rights of immigrants through direct legal services,
      systemic advocacy, and community education. Through its staff attorneys, legal advocates,
      and a network of pro bono attorneys, NWIRP has provided free legal services,
      representation, and education to immigrants with low or no income, including detained
      individuals, for over 40 years. NWIRP focuses on legal services in six primary areas:
      defense in deportation proceedings; asylum; immigration benefits for survivors of domestic
      violence and other crimes; citizenship and naturalization; family visas; and immigration
      benefits for immigrant children and youth. NWIRP operates out of four offices across
      Washington State– Granger, Seattle, Tacoma, and Wenatchee–and in 2024, served over
      20,000 people, and provided direct legal services for over 12,500 immigrants of all ages
      statewide. Immigrants served by NWIRP in 2024 came from 145 countries and collectively
      spoke over 60 languages. NWIRP’s UCP Program supports NWIRP’s overall mission by
      representing:(1) Unaccompanied children and youth who have been released from ORR
      custody to sponsors in Washington State in immigration proceedings and (2) All children
      and youth entering the Unaccompanied Refugee Minor (“URM”) programs in Kennewick,
      WA and Spokane, WA. As part of our UCP contract, NWIRP has also committed to
      providing educational services in the form of legal education “know your rights” (“KYR”)
      presentations and conducting individual consultations (intakes) with all unrepresented
      children and youth released from emergency ORR facilities to sponsors in our geozones.
      We also host Immigrant Justice Corps (IJC) fellows to represent unaccompanied children
      and youth in removal proceedings, provide Spanish-language tutoring for staff representing
      unaccompanied children and youth, and have a UCP-specific social services advocate who
      helps connect NWIRP clients with needed social services.
   3. NWIRP has provided legal services through UCP since 2022. We expanded to provide In-
      Person Post-Release Legal Services to children and youth released from emergency ORR
      facilities in 2023, and we expanded again to provide representation to youth entering the


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   URM program in February 2025. NWIRP has over 500 open UCP cases in which we are
   providing direct legal representation to unaccompanied children and youth released from
   ORR custody.
4. With funding from the U.S. Department of Health and Human Services (HHS), NWIRP
   currently has 20.9 full-time equivalent (FTE) staff members dedicated to providing direct
   legal services to unaccompanied immigrant children and youth. Specifically, we have a
   directing attorney, 3.65 FTE supervising attorneys, 8.7 FTE staff attorneys, 7 FTE legal
   advocates, and one social services advocate. In addition to these staff, NWIRP has three
   FTE Immigrant Justice Corps (IJC) fellow attorneys who provide direct representation for
   unaccompanied children and youth in removal proceedings.
5. NWIRP UCP staff represent unaccompanied children and youth in removal proceedings in
   immigration court, BIA appeals, affirmative relief before USCIS (including asylum,
   Special Immigrant Juvenile (SIJ) classification, Adjustment of Status, T visas and U visas),
   and state court cases (including dependencies, minor guardianships, parenting plans, and
   vulnerable youth guardianships). Staff must regularly travel to the Seattle Immigration
   Court, and occasionally the Portland Immigration Court, as well as state courts throughout
   Washington for court filings and hearings.
6. NWIRP’s UCP Program provides critical legal services to unaccompanied children and
   youth, who are not guaranteed appointment of counsel in removal proceedings. Most
   unaccompanied children and youth in our state lack the financial resources to be able to
   hire private immigration attorneys. There are not many attorneys in Washington state who
   provide representation in removal proceedings for unaccompanied children and youth or
   in state court for SIJ-eligible children and youth, especially on a low bono or pro bono
   basis. Due to their young age (we have represented UCP clients as young as 1 year old),
   the trauma they may have experienced, language barriers, and the complexity of
   immigration law, it is not realistic to expect unaccompanied children and youth to attempt
   to apply for immigration relief before USCIS, pursue state court cases, or advocate for
   themselves in immigration court without an attorney.
7. NWIRP successfully serves children and youth in rural and urban areas of Washington
   State. When we receive a referral for a UCP-eligible child, we direct the referral to the UCP
   team at the NWIRP office that covers the county where the child lives and schedule an
   individual consultation. If the child would like NWIRP to represent them in their
   immigration case, we accept their case on a universal representation basis, without regard
   for the type of relief they may qualify for or the strength of their case. We then assign their
   case to an attorney, or a legal advocate working in collaboration with an attorney. When
   possible, for children and youth who are eligible for SIJ classification, we try to place their
   state court case with a pro bono attorney. We regularly engage in pro bono recruitment and
   mentorship, and we periodically offer training to pro bono attorneys. When NWIRP is


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   unable to find a pro bono attorney, we take on the state court case in-house. We provide
   in-house representation on the immigration case before the immigration court and USCIS.
8. For most of NWIRP’s UCP clients, we represent them in their first appearance in
   immigration court. Many of our UCP clients have never been to any court ever in their life
   before their first immigration court hearing. Before their hearing, their assigned NWIRP
   attorney meets with them to explain what to expect during the hearing, including who will
   be present, what the layout of the courtroom will be, what the immigration judge may ask
   during the hearing, what their NWIRP advocate may say on their behalf, and what some
   possible outcomes of their hearing may be. We review the factual allegations and charges
   of removability in their Notice to Appear with them, and we review the forms of
   immigration relief that we have already discussed with them, making sure they fully
   understand and that we answer any questions they have. This preparation helps put the
   child or youth more at ease, helps ensure their presence at their scheduled hearing, and
   helps the hearing run more efficiently and smoothly because the child better understands
   what is happening.
9. Without warning, on February 18, 2025, HHS (through the U.S. Department of the Interior)
   issued a national contract stop work order for Legal Services for Unaccompanied Children,
   effective immediately, which extended to all four Contract Line Numbers (CLINs).
   Without further elaboration on duration or reasoning, the stop work order stated that it
   “shall remain in place until you are notified otherwise” and “is being implemented due to
   causes outside of your control and should not be misconstrued as an indication for poor
   performance.” HHS later rescinded the stop work order without explanation on February
   21, 2025. Even this short lapse in funding negatively impacted NWIRP’s UCP work. The
   stop work order created confusion among staff over how to categorize and memorialize the
   work they continued to do on behalf of our clients, adding extra timekeeping requirements
   that took away valuable time that could have been spent advocating for clients. During the
   stop work order, we continued the direct representation and legal services without
   interruption, as ethically required by the Rules of Professional Conduct in Washington
   State, but we did not know if we would ever be reimbursed for our work while the stop
   work order was in effect. Even after NWIRP submitted a Request for Equitable Adjustment
   for the work completed while the stop work order was in effect, it was communicated to
   NWIRP that our submissions are “not” official invoices and that our submission “does not”
   guarantee reimbursement and we were told that it “will ultimately be decided by the
   government.”
10. On March 21, 2025, also without warning, we learned that HHS (through the U.S.
    Department of the Interior) partially terminated the current contract with Acacia Center for
    Justice (to which our organization is a subcontractor) that funds legal services for
    unaccompanied children. This termination was effective the same day, March 21, 2025.
    HHS terminated the contract with respect to 3 of the 4 Contract Line Numbers (CLINs):

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   CLIN2, Legal representation for unaccompanied children as well as other non-
   representation services such as referrals and data tracking; CLIN 3, which funds Immigrant
   Justice Corps fellows who represent unaccompanied children not covered under CLIN 2,
   and CLIN 4, Spanish language tutoring for organizational staff who work with children.
   For the time being, HHS has left in place only CLIN1, which funds KYR presentations and
   confidential legal consultations for pro se children in ORR facilities. Per the partial
   termination, HHS ordered Acacia and all subcontractors to stop work immediately on
   CLINs 2, 3, and 4. For NWIRP, this results in a full termination of our entire UCP contract.
   HHS provided no justification for the partial termination other than “the Government’s
   convenience.”
11. NWIRP learned about this contract termination through an email communication from
    Acacia Center for Justice, sent at 8:15 a.m. on March 21, 2025 to NWIRP’s Executive
    Director, Malou Chávez. The title of the email was “Urgent: Notice of Partial Termination
    for the Government’s Convenience.” Acacia hosted a meeting for further discussion of the
    contract termination.
12. While NWIRP is still considering how to respond to the contract termination, we are
    committed to continuing to represent existing clients, at least in the short term. Our
    organization’s ability to continue representing clients long-term depends on many factors,
    including whether any case continuity funding might be available to support the winding
    down of the contract through HHS.
13. UCP funding represents approximately 10% of NWIRP’s overall annual budget. Loss of
    funding impacts 28 staff (20.9 FTEs) at NWIRP. Over the short-term, NWIRP aims to
    maintain all positions to ensure continuity of representation. The organization will do so
    by borrowing from its reserves and by seeking support from donors and is currently in the
    process of determining how long this solution will sustain the services previously funded
    by the UCP contract. Sustaining services will cost NWIRP at least $200,000 per month.
    Since NWIRP provides extensive legal services beyond its UCP contract, it must consider
    all of its mission-focused work when determining use of limited reserve funding or donor
    resources. Any funds that NWIRP directs to sustain services under this contract take away
    from other critical services that NWIRP is committed to providing in the community,
    especially during this period of exponentially-increased demand for immigration legal
    services. We anticipate that NWIRP will be unable to sustain services over the long-term
    and will need to reduce its staff accordingly.
14. The UCP contract termination detrimentally impacts NWIRP’s mission to promote justice
    by defending and advancing the rights of immigrants through direct legal services, systemic
    advocacy, and community education. Research has shown that unrepresented children and
    youth are more likely to be issued an order of removal, even if they have a strong
    immigration claim, demonstrating the high need for legal representation in these cases.


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       While NWIRP aims to continue representation in as many cases as possible, we will have
       extremely limited capacity to assist children and youth who need representation in the
       future, negatively impacting their chances of gaining immigration relief and likely
       changing the trajectory of their lives.
   15. Having to turn away youth from services is difficult for our committed legal staff, many of
       whom are immigrants themselves and share an understanding of the experiences the
       children and youth are facing. Contract termination will undoubtedly negatively impact the
       morale of staff who already work under challenging conditions in the immigration system.
I declare under penalty of perjury under the laws of the District of Columbia that the foregoing is
true and correct.


Executed on the 21st of March 2025, in Wenatchee, Washington.


_______________________________
Vanessa Gutierrez
Deputy Director
Northwest Immigrant Rights Project




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